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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


WILLIAM KOSTROUN,
                              Plaintiff,
                                                            Docket No. 1:21-cv-00420
      - against –

BLEACHER REPORT, INC.

                             Defendant.


                                           COMPLAINT

       Plaintiff William Kostroun (“Plaintiff”) by and through his undersigned counsel, as and

for his Complaint against defendant Bleacher Report, Inc. (“Defendant”) hereby alleges as

follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of a

copyrighted photograph of Evan Engram. The photograph is owned and registered by Plaintiff,

a New Jersey-based professional photographer. Accordingly, Plaintiff seeks monetary relief

under the Copyright Act of the United States, as amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this

Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

1338(a).

       3.      This Court has personal jurisdiction over Defendant because Defendant resides in

and/or transacts business in New York.

       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).
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                                             PARTIES

       5.       Plaintiff is a professional photographer having a usual place of business at 10

Werneking Place, Little Ferry, New Jersey 07643.

       6.       Upon information and belief, Defendant is a foreign business corporation duly

organized and existing under the laws of Delaware, with place of business at 29 West 17th

Street, 10th Floor, New York, NY 10011.

       7.       Defendant is registered to do business in the State of New York.

       8.       At all times material hereto, Defendant has owned and operated a website at

the URL: https://bleacherreport.com (the “Website”).

                                    STATEMENT OF FACTS

       A.       Background and Plaintiff’s Ownership of the Photograph

       9.       Plaintiff photographed New York Giants player Evan Engram (the

“Photograph”). A true and correct copy of the Photograph is attached hereto as Exhibit A.

       10.      Plaintiff is the author of the Photograph and has at all times been the sole owner

of all right, title and interest in and to the Photograph, including the copyright thereto.

       11.      The Photograph was registered with the U.S. Copyright Office and was given

Copyright Registration Number VA 2-127-178, effective as of November 15, 2018 (the

“178 Registration”). A true and correct copy of the 178 Registration is attached hereto as

Exhibit B.

B.     Defendant’s Infringing Activities

       12.      On or about December 30, 2018, Defendant published an article on the Website

which prominently features the Photograph. See URL https://bleacherreport.com/evan-engram

(the “Infringing Article”). A screen shot of the relevant portion of the Infringing Article
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displaying the Photograph is attached hereto as Exhibit C.

        13.    Defendant did not license the Photograph from Plaintiff for its article, nor did

Defendant have Plaintiff’s permission or consent to publish the Photograph on its Website.

        14.    Plaintiff actually discovered the allegedly infringing conduct on January 18,

2019.

                                   CLAIM FOR RELIEF
                               (COPYRIGHT INFRINGEMENT)
                                   (17 U.S.C. §§ 106, 501)

        15.    Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-14 above.

        16.    Defendant infringed Plaintiff’s copyright in the Photograph by reproducing and

publicly displaying the Photograph on the Website.

        17.    Defendant is not, and has never been, licensed or otherwise authorized to

reproduce, publically display, distribute and/or use the Photograph.

        18.    The acts of Defendant complained of herein constitute infringement of

Plaintiff’s copyright and exclusive rights under copyright in violation of Sections 106 and 501

of the Copyright Act, 17 U.S.C. §§ 106 and 501.

        19.    Upon information and belief, the foregoing acts of infringement by

Defendant have been willful or in reckless disregard of Plaintiff’s rights.

        20.    As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages

and defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

        21.    Alternatively, Plaintiff is entitled to statutory damages for Defendant’s willful

infringement of the Photograph pursuant to 17 U.S.C. § 504(c).
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        22.       Plaintiff is further entitled to his attorney’s fees and full costs pursuant

to 17 U.S.C. § 505.

        23.       Defendant’s conduct, described above, is causing, and unless enjoined and

restrained by this Court, will continue to cause Plaintiff irreparable injury that cannot be

fully compensated by or measured in money damages. Plaintiff has no adequate remedy at

law.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests judgment as follows:

   1.         That Defendant be adjudged to have infringed upon Plaintiff’s copyrights in

              the Photograph in violation of 17 U.S.C §§ 106 and 501;

   2.         That Plaintiff be awarded either: (a) Plaintiff’s actual damages and Defendant’s

              profits, gains or advantages of any kind attributable to Defendant’s infringement

              of Plaintiff’s Photograph; or (b) alternatively, statutory damages per copyrighted

              work infringed pursuant to 17 U.S.C. § 504(c);

   3.         That Defendant be required to account for all profits, income, receipts, or other

              benefits derived by Defendant as a result of its unlawful conduct;

   4.         That Plaintiff be awarded his costs, expenses and attorneys’ fees pursuant to 17

              U.S.C. § 505;

   5.         That Plaintiff be awarded pre-judgment interest; and

   6.         Such other and further relief as the Court may deem just and proper.

                                    DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).
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Dated: New Rochelle, New York
       January 17, 2021


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